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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

   U NITED S TATES OF A MERICA
                                                Criminal Action No.
         v.
                                                1:22-cr-283-VMC-CMS
   GLENN LAKEN AND
   CHRISTOPHE MERANI


                      UNITED STATES’ STATUS REPORT
      The United States of America, by Ryan K. Buchanan, United States

Attorney for the Northern District of Georgia, and Tal C. Chaiken and

Christopher J. Huber, Assistant United States Attorneys, respectfully provides

this status report, pursuant to the Court’s September 21, 2023 Order, as to

Defendants who have not yet made an appearance in this case. 1

      Currently, four of Laken’s and Merani’s co-defendants have not appeared

in this District: Rahim Mohamed, Richard Tang, Phillip Sewell, and Zoltan

Nagy. 2 Tang and Nagy are scheduled to voluntarily appear in this District

within the next month. Sewell has informed the United States that he is in the
process of obtaining counsel. Mohamed, through counsel, has indicated that he

will not voluntarily appear in this District and the United States expects that

extradition proceedings will be necessary to secure his appearance.

      Within the next month, the United States expects that the Court will have

before it at least five of the seven charged co-conspirators. The United States

      1 The United States provided additional information to the Court ex parte

on October 3, 2023.
      2 The charges against co-defendants Jeffrey Cox and Breanne Wong were

dismissed on April 19, 2023 and September 26, 2023, respectively.
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believes that at least those five Defendants should be tried together to serve the
important interests previously discussed. For the reasons expressed in prior

briefing and oral argument, the United States continues to oppose severance at

this time.


Dated: October 5, 2023                    R YAN K. B UCHANAN
                                             United States Attorney


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